

Matter of M. (Yoshiko M.) (2021 NY Slip Op 06923)





Matter of M. (Yoshiko M.)


2021 NY Slip Op 06923


Decided on December 09, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 09, 2021

Before: Kapnick, J.P., Moulton, González, Rodriguez, Pitt, JJ. 


Docket No. B-19027/18 Appeal No. 14813 Case No. 2021-00611 

[*1]In the Matter of No Given Name M., Also Known as Neftali, etc., A Dependent Child Under Eighteen Years of Age, etc., Yoshiko M., Respondent-Appellant, The Children's Village, Petitioner-Respondent.


Michele Cortese, Center for Family Representation, Inc., New York (Carmen Tellez and Emily Wall of counsel), for appellant.
Rosin Steinhagen Mendel, New York (Melissa Wagshul of counsel), for respondent.
Karen Freedman, Lawyers for Children Inc., New York (Shirim Nothenberg of counsel), attorney for the child.



Order, Family Court, New York County (Pamela Scheininger, Referee), entered on or about January 4, 2021, which granted petitioner's motion for an order extending the period of a suspended judgment for twelve months, effective nunc pro tunc to December 17, 2020, unanimously affirmed, without costs.
The record presents "exceptional circumstances" to warrant an extension of the suspended judgment (see  Family Ct Act § 633 [b]; Matter of Michael B. , 80 NY2d 299, 311 [1992]). The only consistent compliance with mandated mental health services known to the agency during the suspended judgment period was for four months, from June through October 2020, and the permanent neglect finding was due to the mother's failure to engage consistently in mental health services; thus, the mother failed to make significant progress in overcoming the difficulties that prompted foster care placement.
We have considered the mother's remaining arguments and find them unavailing.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 9, 2021








